                           IN THE UNITED STATES DISTRICT COURT
                          FOR
                           FORTHE
                               THE MIDDLE
                                   WESTERN DISTRICTOF
                                   MIDDLE DISTRICT  OFTENNESSEE
                                                       TENNESSEE
                                        NASHVILLE DIVISION

 Brandon Smith
                                                  ,
        Plaintiff(s),

 v.                                                                  3:22-cv-00629
                                                         Case No._____________________

 Pratt Properties Partnership, GP
                                                  ,
        Defendant(s).


                              BUSINESS ENTITY DISCLOSURE
      (Disclosure of corporate affiliations, business entity citizenship, and financial interests)
                                                          Plaintiff’s Attorney
       Pursuant to Fed. R. Civ. P. 7.1 and L.R. 7.02, _____________________________ makes the
following disclosures:

 INSTRUCTIONS: Check the applicable box or boxes, and fully provide any required
 information. Attach separate pages as necessary to fully provide required information.
                                                          Shelby County, TN
              This party is an individual, who resides in ______________________.


              This party is a publicly held corporation or other publicly held entity, incorporated in
              ______________ and with a principal place of business in _________________.


              This party is a privately held corporation, incorporated in __________________ and
              with a principal place of business in __________________.


              This party has parent corporations

                         If yes, identify on attached page(s) all parent corporations, including
                         grandparent and great- grandparent corporations.

              Ten percent or more of the stock of this party is owned by a publicly held
              corporation or other publicly held entity.

                         If yes, identify on attached page(s) all such owners.



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           This party is a limited liability company or limited liability partnership.

                    If yes, identify on attached page(s) each member of the entity and the
                    member’s state of citizenship. If any member is other than an individual
                    person, the required information identifying ownership interests and
                    citizenship for each sub-member must be provided as well. See Delay v.
                    Rosenthal Collins, Grp., LLC, 585 F.3d 1003 (6th Cir. 2009).

           This party is an unincorporated association or entity.

                    If yes, identify on attached page(s) the nature of the entity, the members of
                    the entity and the member’s state of citizenship. If any member is other than
                    an individual person, the required information identifying ownership
                    interests and citizenship for each sub-member must be provided as well.

           This party is trust.

                    If yes, identify on attached page(s) each trustee and each trustee’s state of
                    citizenship. If any trustee is other than an individual person, the required
                    information identifying ownership of the non-individual the trustee and state of
                    citizenship of each sub-trustee must be provided as well.

           Another publicly held corporation or another publicly held entity has a direct
           financial interest in the outcome of the litigation.

                     If yes, identify on attached page(s) all corporations or entities and the
                     nature of their interest.


     Any additional pertinent information should also be provided on attached page(s).

     8/19/2022
Date: _________                        /s/ Rebecca J. Hutto
                          Signature: ________________________________________

                          Printed Name:_____________________________________
                                          Rebecca J. Hutto, BPR #39252

                                       Attorney for Plaintiff
                          Title: ____________________________________________
                                  CERTIFICATE OF SERVICE

            DEFENDANTS TO BE SERVED BY US MAIL AND CM/ECF:
            Pratt Properties Partnership, GP
            C/O Richard Pratt
            4412 Park Ave
            Nashville, TN 37209


                 Date Served:

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